 Case
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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     WILLIAM CARRICO
 3   Nevada State Bar No. 003042
     Assistant Federal Public Defender
 4   411 E. Bonneville Avenue, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6
 7   Attorneys for Sunday Copeland
 8
 9                                 UNITED STATES DISTRICT COURT
10                                        DISTRICT OF NEVADA
11                                                   ***
12
      UNITED STATES OF AMERICA,                                     2:12-cr-465-JAD-CWH
13
                      Plaintiff,
14                                                            STIPULATION TO CONTINUE
      vs.                                                         SENTENCING DATE
15                                                                  (Second Request)
      SUNDAY COPELAND,
16
                      Defendant.
17
18          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United

19   States Attorney, and Kimberly Frayn, Assistant United States Attorney, counsel for the United States

20   of America, and Rene L. Valladares, Federal Public Defender, and William Carrico, Assistant

21   Federal Public Defender, counsel for SUNDAY COPELAND, that the sentencing hearing scheduled

22   for Monday, May 4, 2014 at the hour of 11:00 a.m., be vacated and set to a date and time convenient

23   for this Court; however, no event earlier than thirty (30) days.

24          This Stipulation is entered into for the following reasons:

25          1.       The defendant is unable to reserve a hotel room due to the upcoming sporting event

26   in Las Vegas.

27          2.       Counsel for the government is unavailable from May 7-14, 2015.

28          3.       The defendant is not incarcerated and does not object to the continuance.

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 1            4.     The parties agree to the continuance.
 2            5.     This is the second request for a continuance of the sentencing hearing filed herein.
 3            DATED this 28th day of April, 2015.
 4
       RENE L. VALLADARES                                           DANIEL G. BOGDEN
 5     Federal Public Defender                                      United States Attorney
 6         /s/ William Carrico                                     /s/ Kimberly M. Frayn
     By:                                                     By:
 7         WILLIAM CARRICO,                                        KIMBERLY M. FRAYN,
           Assistant Federal Public Defender                       Assistant United States Attorney
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 1
 2                               UNITED STATES DISTRICT COURT
 3                                     DISTRICT OF NEVADA
 4
 5
      UNITED STATES OF AMERICA,                                 2:12-cr-465-JAD-CWH
 6
                    Plaintiff,
 7
      vs.
 8
      SUNDAY COPELAND,
 9
                    Defendant.
10
11
12                                             ORDER

13          Based on the pending Stipulation of counsel, and good cause appearing,

14          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for Monday,

15   May 4, 2015, be vacated and continued to Thursday,atJune
                                                          the hour of ______
                                                               4, 2015,       __.m.
                                                                         at 9:00 a.m. in Courtroom 6D.

16                 DATED this ____
                              29th day
                                   dayofof April, 2015.
                                                   , 2015.

17
18                                              ________________________________
                                                UNITED STATES DISTRICT JUDGE
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